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                    CRIMINAL CAUSE FOR GUILTY PLEA

BEFORE JUDGE BIANCO,

DATE: 2/28/2019        TIME: 2:30 p.m.         TIME IN COURT: 1 hr.

DOCKET NUMBER: CR 19-0090        TITLE: USA v. Ronald DeRisi

DEFT NAME: Ronald DeRisi
 X PRESENT     NOT PRESENT          X   IN CUSTODY         ON BAIL

ATTY FOR DEFT: Martin Geduldig                                RETAINED
                                                           X C.J.A.
 X PRESENT      NOT PRESENT                                  FED. DEF. OF
                                               NY, INC.


A.U.S.A. Justina Geraci                  DEPUTY CLERK: Michele Savona


REPORTER:    PERRY AUERBACH    X MARIE FOLEY    __PAUL LOMBARDI
   HARRY RAPAPORT       MARY ANN STEIGER     DOM TURSI       OWEN
WICKER

INTERPRETER:

 X   CASE CALLED;

 X   COUNSEL FOR ALL SIDES PRESENT.

 X   DEFT (S) STATES TRUE NAME TO BE:

     FIRST APPEARANCE OF DEFENDANT.

 X   WAIVER OF INDICTMENT EXECUTED.

     SUPERSEDING INDICTMENT FILED.

     SUPERSEDING INFORMATION FILED.

 x   DEFT(S)              ENTERS A GUILTY PLEA TO COUNT 1 OF THE
     INFORMATION.

     DEFT(S)    WITHDRAWS NOT GUILTY PLEA AND ENTERS A PLEA OF
     GUILTY TO COUNT   OF THE SUPERSEDING INFORMATION.

 X   COURT FINDS A FACTUAL BASIS FOR THE PLEA.
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X   SENTENCE DATE SET FOR 5/2/19 AT         10:00 AM

X   PROBATION NOTIFIED.

    BAIL STATUS CONTINUED FOR DEFT.                 .

X   DEFT.           CONTINUED IN CUSTODY.

    BAIL SET AT

    CASE ADJ'D TO

    OTHER:
